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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRlCT OF FLORIDA
Fort Lauderdale Division

www.flsb.uscourts.gov

In re:
CASE NO. 15-12428-LMI
Scott Jay Hopp & Deanne Lisa Hopp,
Chapter 13
Debtor.
/

 

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Tri-State Funding, LLLP, though counsel and pursuant to S.D. Fla. Local Rule 1009-
l(D)(l), hereby files this Notice of Change of Address for use in changing and/or correcting the
following creditor’s mailing address information:

Prior Address: Steven J. Gutter, P.A.
21301 Powerline Road, Suite 100
Boca Raton, FL 33433

 

 

 

  
  

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The updated address is: Steven J. Gutter, P.A.
6400 Congress Avenue, Suite 1200
Boca Raton, FL 33487

 

 

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l HEREBY CERTIFY that l am admitted to the Bar of the United
States District Court for the Southem District of Florida and l am in
compliance with the additional qualifications to practice in this Court
x set forth in Local Rule 2090-1(A).
\’
Dated: May , 2016 Respectfully submitted:

STEVEN J. GUTTER, P.A.
Attorneys for Plaintijj"

6400 Congress Avenue, Suite 1200
Boca Raton, FL 33487

Telephone: (561) 961-2525
Facsimile: (561) 961-2530
Primary email: steven s`

   

By:

 

/*S'§/en J. Gu‘tt)er, Esq.
FBN 207421

 

 

 

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l HEREBY CERTIFY that on the 13 day of N`QY , 2016, the foregoing was
served upon all parties who are currently on the list to receive ail notice/service for this case,

and via first class U.S. Mail to all parties listed on the attached Service List.

Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service for this case.

v Nancy K. Neidich, 'l`rustee; barmat.trustec@t`urrcolicn.coni
0 Offrce ofthe US Trustee; US'[`PchionZl.MM.HCF@usti.,Qov
0 Mitchell .|. Nowack, Esq., Attomey for Defendant; mitchell@nowackolson.com

 

 

The following is the list of parties who are not currently on the list to receive email notice/service for this case.

 

